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                                                                                   UNITED STATES DISTRICT COURT
                                  IRVINE




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                                                                                 CENTRAL DISTRICT OF CALIFORNIA
                                                14
                                                       T.P., by and through S.P., as next friend,         Case No. 2:15-cv-05346-CJC-E
                                                15     parent, and natural guardian, et al.,
                                                                                                          DISNEY’S STATEMENT OF
                                                16                             Plaintiff,                 UNCONTROVERTED FACTS AND
                                                                                                          CONCLUSIONS OF LAW IN
                                                17            v.                                          SUPPORT OF ITS MOTION FOR
                                                                                                          SUMMARY JUDGMENT ON
                                                18     Walt Disney Parks and Resorts U.S., Inc.,          K.A.C.’S AND J.L.C.’S CLAIMS
                                                19                             Defendant.                 Date: November 9, 2020
                                                                                                          Time: 1:30 p.m.
                                                20                                                        Judge: Hon. Cormac J. Carney
                                                                                                          Courtroom: 9B
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                                                        DSUF ISO Disney’s Mot. for Summ. J. on K.A.C.’s                    (No. 2:15-CV-05346-CJC-E)
                                                        and J.L.C.’s Claims
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                                                 1            Defendant Walt Disney Parks and Resorts U.S., Inc. (“Disney”) hereby
                                                 2     submits the following statement of uncontroverted facts and conclusions of law in
                                                 3     support of its motion for summary judgment on the claims of K.A.C. and J.L.C.,
                                                 4     which Disney is concurrently filing herewith. See C.D. Cal. R. Civ. P. 56-1.
                                                 5                                   UNCONTROVERTED FACTS
                                                 6            1.      In spring 2012, Disney began considering changes to the Guest
                                                 7     Assistance Card (“GAC”) system, and an Attractions Access working group was
                                                 8     assembled. See Ex. 1-B, Armor Dep. (A.L.) at 15:22-16:16; Ex. 4-J, Armor-Hale et
                                                 9     al. Email at 1-2. Disney’s Attractions Access working group, which included leaders
                                                10     from various departments, including Services for Guests with Disabilities, Park
                                                11     Operations, Guest Relations, Public Affairs, and Legal, among others, spent many
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                                                12     months analyzing ways to reduce the fraud and abuse under the GAC system and
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                                                13     carefully considering how to develop a new program that would provide a complete
                                                14     accommodation to guests with disabilities who could not stand and wait in a line.
                                                15     Ex. 1-B, Armor Dep. (A.L.) at 17:24-19:23, 23:7-16, 131:14-132:4, 133:8-134:7,
                                                16     135:21-136:2. The group consulted various autism organizations and considered
                                                17     their suggestions. Ex. 1-C, Jones Dep. (A.L.) at 48:15-17. This extensive work led
                                                18     to replacing GAC with the Disability Access Service (“DAS”) on October 9, 2013.
                                                19     Ex. 1-B, Armor Dep. (A.L.) at 24:4-6, 29:18-23, 45:1-46:12; Ex. 2-A, Crofton Ltr.
                                                20            2.      DAS allows guests with autism and other cognitive disabilities to hold a
                                                21     place in line for rides without standing in the actual line. This gives them time to go
                                                22     to other attractions while they wait virtually. Ex. 2, Sweetman Decl. ¶ 3. In general,
                                                23     the return time with DAS is the posted wait time for that ride or attraction minus 10
                                                24     minutes. Ex. 2-B, DAS Fact Sheet; Ex. 1-D, Hale Dep. (A.L.) at 72:14-73:5. There
                                                25     are many different rides, parades, attractions, shows, concerts, characters, shops,
                                                26     restaurants and special events located throughout Walt Disney World (“WDW”) that
                                                27     guests can experience during their virtual wait. Ex. 1-C, Jones Dep. (A.L.) at 68:14-
                                                28     23; Ex. 1-D, Hale Dep. (A.L.) at 69:5-10; Ex. 2-C, DAS Guide and FAQs.
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                                                        and J.L.C.’s Claims
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                                                 1            3.      If the wait time posted at a ride or attraction is 15 minutes or less, DAS
                                                 2     cardholders and their parties are typically given access right away. See, e.g., Ex. 1-
                                                 3     D, Hale Dep. (A.L.) at 85:1-3 (“[For DAS card holders] ten minutes is deducted from
                                                 4     the time. Ex. 2, Sweetman Decl. ¶ 4. So, typically, if the wait is less than 15
                                                 5     minutes, they are allowed right in.”). Sometimes DAS guests and each member of
                                                 6     their party also may receive re-admission passes, or “re-ads,” which allow them to
                                                 7     immediately enter the shorter FastPass line at any attraction at any time without
                                                 8     having to wait virtually for a return time to enter the line. Ex. 1-C, Jones Dep. (A.L.)
                                                 9     at 79:14-80:9; Ex. 1-D, Hale Dep. (A.L.) at 79:1-12.
                                                10            4.
                                                11                                                               Ex. 1-J, Laval Decl. ¶ 27; Ex.
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                                                12     1-K, DAS Usage at 1. More than a million guests have directly benefited from DAS
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                                                13     since its inception. Ex. 2, Sweetman Decl. ¶ 8.
                                                14            5.      K.A.C. and his family have visited WDW three times since the
                                                15     implementation of the DAS system on October 9, 2013 -- in March 2014, November
                                                16     2014, and May 2016. Ex. 1-Z, Pls.’ Ans. to Def.’s First Interrog., No. 8; Ex. 1-AA,
                                                17     Pls.’ Suppl. Ans. to Def.’s Second Interrog., No. 18. J.L.C. and K.A.C. have not
                                                18     visited Disney’s parks in California since the implementation of DAS and all events
                                                19     at issue in this matter took place in Florida. Ex. 1-X, J.L.C. Dep. at 268:5-25.
                                                20            6.      K.A.C. has spent a total of ten days at WDW since the implementation
                                                21     of DAS. Ex. 2-S, K.A.C. Ticket Usage; Ex. 1-Z, Pls.’ Ans. to Def.’s First Interrog.,
                                                22     No. 8; Ex. 1-AA, Pls.’ Suppl. Ans. to Def.’s Second Interrog., No. 18. When K.A.C.
                                                23     and his family visit WDW, they typically arrive at approximately 10:30 or 11:00 am,
                                                24     and spend the next five to six hours in the parks. Ex. 1-X, J.L.C. Dep. at 280:19-
                                                25     281:3. Prior to DAS, when K.A.C. and his family would visit the parks under the
                                                26     GAC program, they would spend time on rides for a couple of hours and then go
                                                27     back to the hotel. Ex. 1-Z, Pls.’ Ans. to Def.’s First Interrog., No. 8.
                                                28
                                                        DSUF ISO Disney’s Mot. for Summ. J. on K.A.C.’s   -2-               (No. 2:15-CV-05346-CJC-E)
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                                                 1            7.      J.L.C. did not sign any contract with Disney relating to any of these
                                                 2     three visits to WDW. Ex. 1-X, J.L.C. Dep. at 284:7-285:2.
                                                 3            8.      K.A.C.’s first visit to WDW under DAS occurred on March 10-14,
                                                 4     2014. Ex. 1-Z, Pls.’ Ans. to Def.’s First Interrog., No. 8; Ex. 1-X, J.L.C. Dep. at
                                                 5     245:19-22. During the first day of the visit, on March 10, 2014, K.A.C. was issued a
                                                 6     DAS card and                                       Ex. 1-Z, Pls.’ Ans. to Def.’s First Interrog.,
                                                 7     No. 8; Ex. 1-X, J.L.C. Dep. at 213:18-214:20, 260:15-19. K.A.C. and J.L.C. did not
                                                 8     use DAS during the first day, and instead used the                                       to go on
                                                 9     rides at Epcot. Ex. 1-Z, Pls.’ Ans. to Def.’s First Interrog., No. 8. During the next
                                                10     three days, K.A.C. and J.L.C. used a combination of DAS, FastPass,
                                                11              and standby lines to access many of K.A.C.’s favorite rides in the parks,
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                                                12     including It’s Tough to be a Bug!, Mad Tea Party, Dumbo, Tomorrowland Speedway,
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                                                13     and Barnstormer. Id. In particular, on the third day, March 12, 2014, K.A.C. waited
                                                14     in the regular standby line for at least three rides. Id.; Ex. 1-X, J.L.C. Dep. at 233:4-
                                                15     10, 281:19-282:3. On the final day of their March 2014 visit, on March 14, 2014,
                                                16     K.A.C. stayed in the hotel room with his respite provider, as he has done during
                                                17     several other family vacations. Ex. 1-X, J.L.C. Dep. at 245:19-22; Ex. 1-Y, F.C. Dep.
                                                18     at 87:1-17, 119:16-19.
                                                19            9.      K.A.C. allegedly had three meltdowns during the family’s March 2014
                                                20     trip to WDW: K.A.C. allegedly abandoned his wheelchair at It’s Tough to be a Bug!
                                                21     while J.L.C. discussed the DAS system with a Disney Cast Member; he laid on the
                                                22     ground while standing in line for Mad Tea Party; and made noise during the
                                                23     American Idol Experience show. Ex. 1-Z, Pls.’ Ans. to Def.’s First Interrog., No. 8;
                                                24     Ex. 1-X, J.L.C. Dep. at 243:16-244:12, 271:17-272:2. At Mad Tea Party, J.L.C.
                                                25     admitted that K.A.C. could have had a meltdown because he was tired or wanted to
                                                26     be in his wheelchair. Ex. 1-X, J.L.C. Dep. at 233:4-234:8; 236:6-19. After the
                                                27     alleged meltdowns at It’s Tough to be a Bug! and Mad Tea Party, K.A.C. rode and
                                                28     enjoyed each ride. Id. at 271:13-272:13. Indeed, after Mad Tea Party, K.A.C. stayed
                                                        DSUF ISO Disney’s Mot. for Summ. J. on K.A.C.’s   -3-                       (No. 2:15-CV-05346-CJC-E)
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                                                 1     in the park and rode at least one more ride. Id. at 240:7-19; Ex. 1-Z, Pls.’ Ans. to
                                                 2     Def.’s First Interrog., No. 8. In fact, on that day, all of K.A.C.’s favorite rides at
                                                 3     Magic Kingdom had posted wait times of                     or less. Ex. 2-T, K.A.C. Wait
                                                 4     Time Reports; Ex. 1-Z, Pls.’ Ans. to Def.’s First Interrog., No. 8. K.A.C. was never
                                                 5     physically injured at the parks. Ex. 1-X, J.L.C. Dep. at 272:22-273:1.
                                                 6            10.     After this trip, J.L.C. complained about the family’s visit to WDW to
                                                 7     Disney. Id. at 250:7-18. In response, Disney gave J.L.C. two complimentary nights
                                                 8     in two hotel rooms and six complimentary five-day park hopper passes. Id.
                                                 9            11.     K.A.C. next visited WDW from November 24-26, 2014. Ex. 1-Z, Pls.’
                                                10     Ans. to Def.’s First Interrog., No. 8. K.A.C. received a DAS for the duration of the
                                                11     visit. Ex. 1-X, J.L.C. Dep. at 260:15-19. On the first day, J.L.C. recalls using DAS
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                                                12     and                            to experience at least seven to eight rides at Magic Kingdom
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                                                13     and expressed having a “relatively satisfying experience.” Id. at 252:20-254:12. On
                                                14     the second day, at Animal Kingdom, guest services arranged wait times for K.A.C. to
                                                15     experience all of the rides that he wanted to go on. Id. at 254:13-255:13. On the
                                                16     third and final day, at Epcot, J.L.C. and K.A.C. used DAS and                               to
                                                17     go on the rides that K.A.C. wanted to go on that day. Id. at 255:22-257:3.
                                                18             12.     K.A.C.’s third trip to WDW was on May 17, 18, and 20, 2016. Ex. 1-
                                                19     AA, Pls.’ Suppl. Ans. to Def.’s Second Interrog., No. 18; Ex. 1-X, J.L.C. Dep. at
                                                20     259:24-260:7. For this visit, J.L.C. used the complimentary park-hopper tickets
                                                21     provided by Disney. Ex. 1-X, J.L.C. Dep. at 262:13-263:4. K.A.C. received a DAS
                                                22     for the duration of the visit. Id. at 260:15-19. He used DAS and
                                                23             to experience rides at Epcot on May 17, and went on at least two more rides at
                                                24     Animal Kingdom on May 18. Id. at 263:5-264:25. Other than going on Epcot Test
                                                25     Track on the final day, J.L.C. does not recall any other rides during the May visit, but
                                                26     admitted in her deposition that she and K.A.C. experienced all the rides they wanted
                                                27     to go on during that trip. Id. at 264:6-265:21.
                                                28
                                                        DSUF ISO Disney’s Mot. for Summ. J. on K.A.C.’s   -4-                 (No. 2:15-CV-05346-CJC-E)
                                                        and J.L.C.’s Claims
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                                                 1            13.     J.L.C. does not recall K.A.C. having any meltdowns during the family’s
                                                 2     November 2014 visit to WDW, nor can she recall any meltdowns at the park during
                                                 3     K.A.C.’s May 2016 visit to WDW. Id. at 267:5-17, 271:1-6. Indeed, the day after
                                                 4     the family returned from their May 2016 visit to WDW, J.L.C. called Dr. Elliott –
                                                 5     K.A.C.’s current psychiatrist – and “report[ed] the family returned from their Disney
                                                 6     trip and [K.A.C.] did fairly well.” Ex. 1-BB, Elliott Dep. at 75:4-76:9. At another
                                                 7     visit with Dr. Elliott on June 1, 2016, the family reported that K.A.C. “generally
                                                 8     tolerated the park.” Id. at 76:15-78:7.
                                                 9            14.     When reflecting on all three trips, F.C., K.A.C.’s father, stated that the
                                                10     family rode “[a]s many [rides] as [they] could get in” -- “just about everything in
                                                11     Magic Kingdom,” including up to eight or nine rides that they “try to…get to all the
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                                                12     time” -- as well as all of the rides K.A.C. wanted to go on at Epcot and Animal
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                                                13     Kingdom. Ex. 1-Y, F.C. Dep. at 109:17-111:17. And this was without fully utilizing
                                                14     DAS or the FastPass program made available to plaintiffs. Ex. 1-X, J.L.C. Dep. at
                                                15     213:3-214:9, 217:6-218:7, 220:4-25. When asked if the family intends to return to
                                                16     WDW, F.C. stated “I don’t want to say [we’ve] ‘Disneyed out,’ but we’ve done pretty
                                                17     much, you know, everything at Disney…it’s something we like doing, to be honest. I
                                                18     mean, we like going to Disney.” Ex. 1-Y, F.C. Dep. at 91:7-14.
                                                19            15.      Despite plaintiffs’ allegation that K.A.C. is a “repeat rider,” and must
                                                20     experience a particular ride or attraction over and over for several hours at time,
                                                21     J.L.C. admitted during her deposition that this allegation is inaccurate because
                                                22     K.A.C. is not a repeat rider. Doc. 1, Compl. ¶ 799; Ex. 1-X, J.L.C. Dep. at 109:5-
                                                23     110:2. K.A.C. does not have a routine or order of rides that he must experience, nor
                                                24     does he prefer to ride certain rides over and over again. Doc. 1, Compl. ¶ 799; Ex. 1-
                                                25     Z, Pls.’ Ans. to Def.’s First Interrog., No. 10; Ex. 1-X, J.L.C. Dep. at 259:12-23.
                                                26            16.      K.A.C. has demonstrated that he has the ability to wait and defer
                                                27     gratification. For example, K.A.C. waits for at least 15 minutes to eat french fries or
                                                28     chicken nuggets from McDonalds. Ex. 1-X, J.L.C. Dep. at 184:7-185:3. Initially,
                                                        DSUF ISO Disney’s Mot. for Summ. J. on K.A.C.’s   -5-                (No. 2:15-CV-05346-CJC-E)
                                                        and J.L.C.’s Claims
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                                                 1     K.A.C.’s parents would give him the fries or nuggets right away in the drive-thru
                                                 2     lane, but through the use of behavioral techniques, K.A.C.’s parents were able to get
                                                 3     K.A.C. to wait until they drove home to eat the fries or nuggets. Id. at 181:7-185:8.
                                                 4     K.A.C. has waited for extended periods of time in other environments as well,
                                                 5     including at church for an hour and forty-five minutes, at his pediatrician’s office for
                                                 6     up to 30 minutes without accommodation (and not including the 20-30 minute
                                                 7     exam), and in an Emergency Room for more than six hours to have a head laceration
                                                 8     repaired, without evidence of any meltdowns. Id. at 75:6-13, 180:16-23; Ex. 1-CC,
                                                 9     Meyer Dep. at 19:20-24, 45:22-46:3, 65:12-16.
                                                10            17.     K.A.C. has been on several trips and vacations within the past several
                                                11     years that required him to travel by car and plane. Ex. 1-Z, Pls.’ Ans. to Def.’s First
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                                                12     Interrog., No. 11; Ex. 1-AA, Pls.’ Suppl. Ans. to Def.’s Second Interrog., No. 20. For
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                                                13     example, K.A.C. went on numerous road trips with his family from his home in
                                                14     Mesquite, Texas to Louisiana, which takes approximately six hours, each way. Ex.
                                                15     1-X, J.L.C. Dep. at 145:19-146:11. K.A.C. also flew with his family to Seattle,
                                                16     Washington, which involves approximately four hours of flight time (one way) on
                                                17     top of the time spent going through airport security and waiting to board at the
                                                18     airport. Id. at 153:1-9. While waiting to board the aircraft, F.C. will bide time with
                                                19     K.A.C. by walking around the terminal, getting a snack, and going to the restroom.
                                                20     Id. at 149:10-150:13. K.A.C. and his family have also gone on several cruises,
                                                21     including a seven-night Alaskan cruise that departed out of Seattle, Washington. Ex.
                                                22     1-Y, F.C. Dep. at 84:11-15.
                                                23             18.     K.A.C. has shown that he can and has waited in standby lines “with
                                                24     other, non-disabled, children” for rides at Disney’s parks. Doc. 1, Compl. ¶ 809.
                                                25     On March 12, 2014, during the family’s March 2014 trip to WDW, J.L.C. states that
                                                26     K.A.C. waited in the regular line for Mad Tea Party, Dumbo, and Tomorrowland
                                                27     Speedway. Ex. 1-Z, Pls.’ Ans. to Def.’s First Interrog., No. 8. F.C. acknowledged
                                                28     that the wait for both Mad Tea Party and Dumbo were approximately
                                                        DSUF ISO Disney’s Mot. for Summ. J. on K.A.C.’s   -6-             (No. 2:15-CV-05346-CJC-E)
                                                        and J.L.C.’s Claims
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                                                 1               on March 12, 2014. Ex. 1-Y, F.C. Dep. at 107:15-108:16; Ex. 2-T, K.A.C.
                                                 2     Wait Time Reports. And according to Disney’s posted wait time reports for March
                                                 3     12, 2014, the average wait time for Tomorrowland Speedway was approximately
                                                 4                  Id.
                                                 5            19.         J.L.C. has no evidence to support the allegations in her complaint that
                                                 6     Disney “designed the DAS with a goal or ‘benefit’ in mind of substantially reducing
                                                 7     the number of autistic and cognitively impaired persons who visit the Disney Parks”
                                                 8     (Doc. 1, Compl. ¶ 32), trained its Guest Relations employees to “inconsistently,
                                                 9     arbitrarily and capriciously grant[] additional passes…to deter families in which
                                                10     someone has a developmental disability or cognitive impairment from visiting the
                                                11     Parks” (id. ¶ 78-79), or implemented DAS “to cleanse its Parks of …the anti-Magic”
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                                                12     of guests with autism (id. ¶ 86). Ex. 1-X, J.L.C. Dep. at 287:5-20. J.L.C. also has no
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                                                13     evidence that Disney intentionally tried to injure K.A.C. Id. at 287:25-288:12.
                                                14            20.         Of the thousands of medical records produced in this case, none
                                                15     indicates that K.A.C. has visited a physician for the treatment of emotional distress.
                                                16     Similarly, J.L.C. confirmed that K.A.C. has not seen a physician for any mental
                                                17     health issues, such as anxiety or depression. Id. at 96:12-15. K.A.C. has seen a
                                                18     psychiatrist, but for management of K.A.C.’s autism and ADHD, not for therapy. Id.
                                                19     at 82:14-83:21. And K.A.C.’s primary pediatrician confirmed that the family has
                                                20     never discussed their trips to WDW with her. Ex. 1-CC, Meyer Dep. at 40:16-18.
                                                21     For these reasons, among others, Dr. Kelderman concluded that K.A.C. did not suffer
                                                22     serious, severe, or extreme emotional distress caused by Disney’s conduct or the
                                                23     DAS system. Ex. 1-X, Kelderman Decl. ¶ 83. Moreover, the only references to
                                                24     Disney in K.A.C.’s psychiatry records state that K.A.C. “did fairly well” and
                                                25     “generally tolerated” the parks following the family’s May 2016 visit to WDW. Ex.
                                                26     1-BB, Elliott Dep. at 75:4-78:7.
                                                27            21.         K.A.C.’s mother, J.L.C., reported that she has never been diagnosed
                                                28     with or treated for anxiety, depression, or any other sort of mental health problem.
                                                        DSUF ISO Disney’s Mot. for Summ. J. on K.A.C.’s   -7-                  (No. 2:15-CV-05346-CJC-E)
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                                                 1     Ex. 1-X, J.L.C. Dep. at 100:16-20. The only times J.L.C. recalls discussing anything
                                                 2     related to anxiety, depression, or feeling distressed with a medical provider was with
                                                 3     her primary care doctor in response to job-related stress and miscarriages, which has
                                                 4     nothing to do with DAS. Id. at 99:3-100:9. For these reasons, among others, Dr.
                                                 5     Ronald Schouten concluded that J.L.C. has not suffered from serious, severe, or
                                                 6     extreme emotional distress caused by Disney’s conduct or the DAS system. Ex. 1-H,
                                                 7     Schouten Decl. ¶ 29.
                                                 8            22.     K.A.C. has regularly exhibited negative behaviors, aggressions, and
                                                 9     meltdowns in many different environments other than WDW. K.A.C.’s negative
                                                10     behaviors occur every day, dozens of times per day. Ex. 1-DD, Klutts Dep. at 99:8-
                                                11     22; Ex. 1-F, Kelderman Decl. ¶ 80 (“the average rate of aggressions per day is 32.38
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                                                12     occurrences.”). K.A.C.’s meltdowns and negative behaviors can happen anywhere,
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                                                13     at any time, and occur across multiple environments, including at Target or Walmart,
                                                14     in the car, at the airport, and at the doctor’s office. Ex. 1-X, J.L.C. Dep. at 200:12-
                                                15     24; Ex. 1-Y, F.C. Dep. at 28:17-19, 33:16-34:6, 36:3-14, 48:6-49:17, 55:8-12.
                                                16     However, K.A.C.’s parents concede that K.A.C.’s behaviors have improved over the
                                                17     last several years since the family’s first visit to WDW under DAS. Id. at 44:22-
                                                18     45:1; Ex. 1-X, J.L.C. Dep. at 136:23-137:3.
                                                19            23.      DAS provides accommodations that mirror strategies outlined in the
                                                20     medical literature and utilized by parents, educators and clinicians working with
                                                21     individuals with autism and other cognitive disabilities. These accommodations are
                                                22     consistent with the accepted treatments for challenging behaviors associated with
                                                23     autism. Ex. 1-F, Kelderman Decl. ¶¶ 45, 47, 54. Indeed, it is “obvious to anyone
                                                24     familiar with the field that Disney incorporated behavioral principles consistent with
                                                25     best practices” in its DAS system and guidebooks, and that it “is indicative of a
                                                26     conscious effort to help maximize the positive experiences” of guests with
                                                27     disabilities visiting Disney’s parks. Id. ¶ 54.
                                                28
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                                                 1         24.     The wait time reports for the 10 days K.A.C. spent at WDW since
                                                 2   October 2013 show that, on average, for the days spent in Epcot, Animal Kingdom,
                                                 3   and Magic Kingdom,
                                                 4
                                                 5
                                                 6                                                                              Ex. 2-T,
                                                 7   K.A.C. Wait Time Reports. One of K.A.C.’s favorite rides, the PeopleMover,
                                                 8                        throughout K.A.C.’s time at Magic Kingdom. Id.; Ex. 1-Z, Pls.’
                                                 9   Ans. to Def.’s First Interrog., No. 10.
                                                10         25.     The inability to wait or the need for immediate gratification is not a
                                                11   diagnostic criteria or requirement of autism. Ex. 1-F, Kelderman Decl. ¶¶ 12, 41, 46;
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                                                12   Ex. 1-E, Kelderman Dep. (A.L.) at 71:5-11. K.A.C. has the capacity to wait and
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                                                13   defer gratification for extended periods of time. Ex. 1-F, Kelderman Decl. ¶¶ 64-66.
                                                14         26.      Neuropsychologists who routinely observe children with autism having
                                                15   meltdowns will sometimes purposefully trigger these behaviors and allow them to
                                                16   progress. Id. ¶ 59.
                                                17         27.      Children do not suffer serious, severe, or extreme emotional distress
                                                18   from engaging in meltdown behavior. Id. ¶ 56. Indeed, the fact that a child with
                                                19   autism “may react to a benign stimulus by engaging in maladaptive meltdowns does
                                                20   not mean the meltdowns themselves represent serious, severe, or extreme emotional
                                                21   distress.” Id. Rather, maladaptive behaviors are “considered to represent a form of
                                                22   communication with others” and thus “do not represent a novel or extreme reaction.”
                                                23   Id. ¶¶ 18, 56, 58.
                                                24         28.      Dr. Kelderman has extensive experience working with families who
                                                25   have children with autism and interacts with them daily in her practice. Ex. 1-F,
                                                26   Kelderman Decl. ¶ 57. Based on her experience, Dr. Kelderman concluded that
                                                27   many parents of children with cognitive disabilities “have learned how to effectively
                                                28
                                                     DSUF ISO Disney’s Mot. for Summ. J. on K.A.C.’s   -9-               (No. 2:15-CV-05346-CJC-E)
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                                                 1   cope with their children’s behavior” and that parents would not suffer severe
                                                 2   emotional distress from their child having a meltdown. Id. ¶ 57, 59.
                                                 3         29.     Plaintiffs failed to submit any expert disclosures or reports by the
                                                 4   Court’s December 31, 2019, expert disclosure deadline, including but not limited to
                                                 5   any expert opinions regarding K.A.C.’s or J.L.C.’s claimed emotional
                                                 6   distress. White Decl. ¶ 3; see Doc. 395-1, Declaration of Barbara U. Uberoi in
                                                 7   Support of Plaintiffs’ Ex Parte Motion To Extend Expert Disclosure Deadline
                                                 8   (requesting an extension of the deadline to submit expert reports in the Bellwether IV
                                                 9   phase of this case); Doc. 397, Order Denying Without Prejudice Plaintiffs’ Ex Parte
                                                10   Application for an Order Granting Motion To Extend Disclosure Deadline (denying
                                                11   plaintiffs’ motion to extend the discovery deadlines).
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                                                12         30.     K.A.C.’s maladaptive behaviors occur across multiple environments and
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                                                13   are not unique to Disney’s parks. Ex. 1-F, Kelderman Decl. ¶ 74. Indeed, K.A.C.’s
                                                14   psychiatrist, Dr. Elliott, testified that K.A.C.’s aggressions happen in many
                                                15   environments and his irritability and outbursts are unpredictable. Ex. 1-BB, Elliott
                                                16   Dep. 44:6-45:4. And while K.A.C. may have engaged in meltdown behavior while at
                                                17   WDW (like he does everywhere else), this would have been far fewer than is typical
                                                18   for him; based on his parents’ testimony, K.A.C.’s average rate of aggressions on a
                                                19   typical school day is 32.38 occurrences per day. Ex. 1-F, Kelderman Decl. ¶¶ 80, 81.
                                                20   For these reasons, among others, Dr. Jill Kelderman concluded that K.A.C. has not
                                                21   suffered from serious, severe, or extreme emotional distress caused by Disney’s
                                                22   conduct or the DAS system. Id. ¶ 83.
                                                23         31.     There were various forms of documented abuse of the GAC system,
                                                24   including that some guests fabricated their need for a pass, created counterfeit GACs,
                                                25   posted Craigslist ads offering the use of GACs -- at the cost of thousands of dollars --
                                                26   for unauthorized “tours” of Disneyland, and used the internet to sell unexpired
                                                27   GACs. Ex. 1-B, Armor Dep. (A.L.) at 9:1-15; 9:21-10:15, 55:13-14, 17-22; Ex. 4-D,
                                                28   Jones-Sanchez et al. Email; Ex. 4-E, Craigslist Ad GAC; Ex. 4-F, Armor-Ennis
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                                                 1   Email. The most common abuse consisted of guests’ fabrication of their need for a
                                                 2   pass at all. Ex. 1-B, Armor Dep. (A.L.) at 55:17-22. Shortly after assuming the role
                                                 3   of Director of Park Operations, Alison Armor consistently received feedback from
                                                 4   Disney’s park operators that the GAC system was being abused. Id. at 9:1-15. In
                                                 5   fact, guests at Disneyland would ask for a GAC card to bypass the GAC line because
                                                 6   the GAC line was too long and at times it exceeded the regular wait for the attraction.
                                                 7   Ex. 1-A, Sweetman Dep. (May 8, 2017) at 80:12-81:11.
                                                 8         32.
                                                 9
                                                10
                                                11                                                                                  Ex. 1-B,
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                                                12   Armor Dep. (A.L.) at 58:18-59:17; Ex. 2-G, GAC Study; Ex. 1-J, Laval Decl. ¶¶ 43-
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                                                13   46. For example,
                                                14
                                                15                                           Ex. 2-J, GAC Impact Toy Story Mania. Based on
                                                16   these results, IE concluded that,
                                                17
                                                18
                                                19                Ex. 2-J, GAC Impact Toy Story Mania; Ex. 1-B, Armor Dep. (A.L.) at
                                                20   58:24-59:9.
                                                21
                                                22                                            Ex. 2-J, GAC Impact Toy Story Mania; Ex. 1-B,
                                                23   Armor Dep. (A.L.) at 100:9-16.
                                                24
                                                25                                                                           Ex. 1-J, Laval
                                                26   Decl. ¶ 45; Ex. 1-B, Armor Dep. (A.L.) at 58:20-59:9.
                                                27         33.
                                                28
                                                     DSUF ISO Disney’s Mot. for Summ. J. on K.A.C.’s   - 11 -             (No. 2:15-CV-05346-CJC-E)
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                                                 1
                                                 2
                                                 3                     Ex. 1-J, Laval Decl. ¶¶ 47-49; Ex. 1-Q, July 2015 Incremental
                                                 4   Analysis 1; see Ex. 1-I, Laval Dep. (A.L.) 87:15-92:11, 97:7-98:17.
                                                 5
                                                 6                   Ex. 1-Q, July 2015 Incremental Analysis at 1.
                                                 7         34.
                                                 8
                                                 9                 Ex. 1-I, Laval Dep. (A.L.) 20:15-21:24; Ex. 1-J, Laval Decl. ¶ 12.
                                                10         35.
                                                11
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                                                12                                  Ex. 1-J, Laval Decl. ¶¶ 34-40. The study showed that
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                                                13
                                                14          Id. ¶ 34. For example,
                                                15
                                                16
                                                17
                                                18               Ex. 1-J, Laval Decl. ¶ 37.
                                                19                                   CONCLUSIONS OF LAW
                                                20         1.      Summary judgment is appropriate where “the movant shows that there
                                                21   is no genuine dispute as to any material fact and the movant is entitled to judgment
                                                22   as a matter of law.” Fed. R. Civ. P. 56(a). A disputed fact is “material” only if its
                                                23   resolution could affect the outcome of the suit, and it is “genuine” if the evidence is
                                                24   such that a reasonable jury could return a verdict for either party. Anderson v.
                                                25   Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The party seeking summary judgment
                                                26   bears the initial burden of demonstrating the absence of a genuine issue of material
                                                27   fact through affirmative evidence or by showing that there is an absence of evidence
                                                28   to support the nonmoving party’s case. Celotex Corp. v. Catrett, 477 U.S. 317, 323
                                                     DSUF ISO Disney’s Mot. for Summ. J. on K.A.C.’s   - 12 -            (No. 2:15-CV-05346-CJC-E)
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                                                 1   (1986); Avalos v. Baca, 596 F.3d 583, 593-94 (9th Cir. 2010). When the burden
                                                 2   shifts to the non-moving party to designate specific facts showing that there is a
                                                 3   genuine issue for trial, the non-moving party cannot rely on “a mere . . . scintilla of
                                                 4   evidence” supporting its position. Anderson, 477 U.S. at 252; accord City of
                                                 5   Pomona v. SQM N. Am. Corp., 750 F.3d 1036, 1049 (9th Cir. 2014). Rather, for a
                                                 6   court to find a genuine issue for trial, the non-moving party must establish, through
                                                 7   the record presented to the court, that it is able to prove evidence sufficient for a
                                                 8   reasonable jury to return a verdict in its favor. Anderson, 477 U.S. at 249.
                                                 9         2.      K.A.C. and J.L.C. predicate each of their common law claims on the
                                                10   existence of an ADA and Unruh Act violation by Disney. E.g., Doc. 355, Order
                                                11   Summ. J. (Bellwether III Pls.) at 6 (“Plaintiffs’ NIED claims, particularly the
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                                                12   elements of duty and breach, are derivative of their ADA claims.”); id. at 7
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                                                13   (“Plaintiffs IIED claims are derivative of their claims under the ADA.”); Doc. 224,
                                                14   Order Summ. J. (P.F.E.) at 2 (“Although Plaintiffs do not explicitly state a cause of
                                                15   action under the Americans with Disabilities Act (“ADA”), all of Plaintiffs’ claims
                                                16   are predicated upon proving a violation of that statute.”); Doc. 225, Order Summ. J.
                                                17   (E.A.P.) at 2 (same); Ex. 1-R, Galvan v. Walt Disney Parks and Resorts U.S., Inc.,
                                                18   Case No. 8:18-cv-01721-AB-FFM, Doc. 87, Order Granting Disney’s Motion for
                                                19   Summary Judgment at 14-16 (C.D. Cal. Nov. 27, 2019) (granting summary judgment
                                                20   for Disney and holding that plaintiffs could not prevail on their common-law breach
                                                21   of contract and emotional distress claims because they were predicated on plaintiffs’
                                                22   ADA and Unruh Act claims, which had failed). Accordingly, plaintiffs have made
                                                23   the showing of an ADA and Unruh Act violation a prerequisite for recovery on their
                                                24   common-law claims, and a failure to establish an ADA or Unruh Act violation
                                                25   entitles Disney to summary judgment on plaintiffs’ common-law breach of contract
                                                26   and emotional distress claims. Doc. 355 at 6-7; Doc. 224 at 5-6; Doc. 225 at 5-6; Ex.
                                                27   1-R, Galvan Order at 14-16.
                                                28
                                                     DSUF ISO Disney’s Mot. for Summ. J. on K.A.C.’s   - 13 -             (No. 2:15-CV-05346-CJC-E)
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                                                 1         3.      The Unruh Act only applies to discrimination that takes place within the
                                                 2   borders of California. See e.g., Warner v. Tinder Inc., 105 F. Supp. 3d 1083, 1099
                                                 3   (C.D. Cal. 2015) (“[B]y its own terms, [the Unruh Act] is expressly limited to
                                                 4   discrimination that takes place within California’s borders.”); Loving v. Princess
                                                 5   Cruise Lines, Ltd., No. CV 08-2898 JFW AJWX, 2009 WL 7236419, at *8 (C.D.
                                                 6   Cal. 2009) (“It is well settled that the Unruh Act applies only within California.”)
                                                 7   (citing Archibald v. Cinerama Hawaiian Hotels, Inc., 73 Cal.App.3d 152, 159, 140
                                                 8   Cal.Rptr. 599 (1977)).
                                                 9         4.      Liability under the Unruh Act is coextensive with ADA liability. See,
                                                10   e.g., Doc. 355 at 5; Doc. 224 at 5 (quoting Cal. Civ. Code § 51(f) (stating that an
                                                11   ADA violation is also a violation of Section 51(f) the Unruh Act); Doc. 225 at 5
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                                                12   (same); see also Munson v. Del Taco, Inc., 208 P.3d 623, 630 (Cal. 2009) (“Because
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                                                13   the Unruh Act has adopted the full expanse of the ADA, it must follow, that the same
                                                14   standards for liability apply under both Acts.” (internal quotation marks omitted)).
                                                15   As plaintiffs acknowledge, section 51(f) of the Unruh Act provides that “[a] violation
                                                16   of the right of any individual under the Americans with Disabilities Act shall also
                                                17   constitute a violation of this section.” Doc. 1, Compl. ¶ 8 (quoting Cal. Civ. Code §
                                                18   51(f)); see, e.g., Doc. 355 at 5; Doc. 224 at 5 (same); Doc. 225 at 5 (same). And
                                                19   California state courts apply the Unruh Act in accordance with the burdens of proof
                                                20   and defenses available under the ADA. See, e.g., Hankins v. El Torito Rests., Inc., 74
                                                21   Cal. Rptr. 2d 684, 693 (Ct. App. 1998) (recognizing that California law imposes “at
                                                22   least the same requirements as are imposed by the Americans with Disabilities Act”);
                                                23   see also Baughman v. Walt Disney World Co., 159 Cal. Rptr. 3d 825, 830-31 (Ct.
                                                24   App. 2013) (noting that plaintiff’s Unruh Act claim relied on a violation of the
                                                25   ADA). Therefore, like the ADA, California law requires a plaintiff suing for a failure
                                                26   to accommodate to prove that his “requested accommodation [is] necessary and
                                                27   reasonable.” Doc. 224 at 5; Doc. 225 at 5; see Doc. 355 at 5; Baughman, 159 Cal.
                                                28   Rptr. 3d at 831 (holding that “Baughman’s evidence does not show Disney failed to
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                                                 1   make reasonable modifications in its policies, practice, or procedures, or that the
                                                 2   modification she requested was necessary to afford goods, services, privileges,
                                                 3   advantages, or accommodations to individuals with disabilities”). In effect, if
                                                 4   plaintiffs cannot establish an ADA claim, none of their claims can be sustained.
                                                 5         5.      To establish a violation of Title III of the ADA and in turn a violation of
                                                 6   the Unruh Act, plaintiffs must show that a reasonable modification of Disney’s
                                                 7   policy is necessary to afford access to Disneyland, unless doing so would
                                                 8   fundamentally alter the nature of the goods, services, facilities, privileges,
                                                 9   advantages, or accommodations offered at Disneyland. 42 U.S.C. § 12182(2)(A)(ii);
                                                10   PGA Tour, Inc. v. Martin, 532 U.S. 661, 688 (2001); White v. Divine Invs., Inc., 286
                                                11   F. App’x 344, 346 (9th Cir. 2008) (explaining that Title III violation requires
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                                                12   discrimination that falls within the ambit of at least one of the five specific
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                                                13   prohibitions set forth in 42 U.S.C. § 12182(b)(2)(A)(i)-(v)); A.L. v. Walt Disney
                                                14   Parks and Resorts U.S., Inc., 2020 WL 3415008, at *14-15 (M.D. Fla. June 22,
                                                15   2020), appeal docketed, No. 20-12720 (11th Cir. July 22, 2020).
                                                16         6.      In order to show that changing DAS is “necessary,” plaintiffs must
                                                17   prove that it is “beyond [K.A.C.’s] capacity” to access the rides at WDW with the
                                                18   DAS system in place. Martin, 532 U.S. at 682; Doc. 224 at 4; Doc. 225 at 5.
                                                19         7.      Several courts in the Ninth Circuit -- and throughout the country -- have
                                                20   held that a requested modification is not “necessary to afford access” to defendant’s
                                                21   facilities under Title III if there are other available means of insuring access. See,
                                                22   e.g., Coleman v. Phoenix Art Museum, 2009 WL 1097540, at *3 (D. Ariz. Apr. 22,
                                                23   2009) (citing Martin and holding that the plaintiff failed to meet his burden of
                                                24   showing that his own hip chair device was necessary to accommodate his disability
                                                25   when the museum offered to provide two different kinds of wheelchairs), aff’d, 372
                                                26   F. App’x 793 (9th Cir. 2010); Murphy v. Bridger Bowl, 150 F. App’x 661, 663 (9th
                                                27   Cir. 2005) (citing Martin, the Ninth Circuit held that the requested modification of
                                                28   allowing a companion to accompany an individual with a cognitive disability on a ski
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                                                 1   bike was not necessary to improve her skills because there were alternative methods
                                                 2   available); Logan v. Am. Contract Bridge League, 173 F. App’x 113, 117 (3d Cir.
                                                 3   2006) (applying Martin and finding that the plaintiff’s contention that “he can’t play
                                                 4   to the maximum of [his] potential” without the requested modification failed to set
                                                 5   forth a meritorious claim under Title III (internal quotation marks omitted)); Dryer v.
                                                 6   Flower Hosp., 383 F. Supp. 2d 934, 941 (N.D. Ohio 2005) (plaintiff’s requested
                                                 7   modification of the hospital’s policy prohibiting visitors from using its oxygen ports
                                                 8   was not “necessary” under Martin because she was allowed to bring her own oxygen
                                                 9   tank into the hospital).
                                                10         8.      Plaintiffs’ request for front of the line, unrestricted “immediate access to
                                                11   the rides at its parks” is not necessary or required by the ADA because an alternative
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                                                12   accommodation -- the DAS system -- provided K.A.C. access to WDW. Doc. 224 at
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                                                13   5; Doc. 225 at 5. Indeed, “DAS not only reasonably accommodates and provides
                                                14   equal access to guests with disabilities, for whom it may be difficult to wait in a
                                                15   traditional queue,” but it provides more than equal access to such guests overall
                                                16   “because they can experience the most popular attractions faster and, if they desire,
                                                17   in greater number than what                       of guests [i.e., non-DAS guests] at
                                                18   [Disneyland] can do without DAS.” Ex. 1-J, Laval Decl. ¶ 52. A reasonable juror
                                                19   could not find that plaintiffs’ requested accommodation is necessary to afford K.A.C.
                                                20   access to WDW because K.A.C. already has access.
                                                21         9.      Under well-established legal precedent, and consistent with the Middle
                                                22   District of Florida’s recent decision in A.L. v. Walt Disney Parks and Resorts U.S.,
                                                23   Inc., 2020 WL 3415008 (M.D. Fla. June 22, 2020), K.A.C.’s preference for
                                                24   immediate, repeated access does not meet his burden to establish a violation of Title
                                                25   III of the ADA. See, e.g., Martin, 532 U.S. at 682; Bird v. Lewis & Clark Coll., 303
                                                26   F.3d 1015, 1021 (9th Cir. 2002) (affirming judgment for college in Title III case
                                                27   because it “offered ample evidence of having accommodated Bird’s disability” and
                                                28   “[t]he College did not necessarily fail to make reasonable modifications simply
                                                     DSUF ISO Disney’s Mot. for Summ. J. on K.A.C.’s   - 16 -                   (No. 2:15-CV-05346-CJC-E)
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                                                 1   because some aspects of the program did not conform to Bird’s expectations”); A.L.,
                                                 2   2020 WL 3415008, at *21 (holding that A.L.’s “proposed modification of ten
                                                 3   readmission passes or unlimited access to the FastPass lines is not necessary to
                                                 4   accommodate A.L.’s preference to follow a route or a pre-set list of rides,” and that
                                                 5   “[c]ompared to nondisabled guests, A.L. with the DAS card can access the same
                                                 6   rides in less time and without physically standing in line”); Ault v. Walt Disney World
                                                 7   Co., 254 F.R.D. 680, 688 (M.D. Fla.) (explaining that a preference to use a Segway
                                                 8   over other types of mobility devices need not be accommodated under the ADA as a
                                                 9   matter of law), vacated on other grounds, 2009 WL 3242028, at *7 (M.D. Fla. Oct.
                                                10   6, 2009), vacated per curiam on other grounds, 405 F. App’x 401 (11th Cir. 2010);
                                                11   Dobard v. S.F. Bay Area Rapid Transit Dist., 1993 WL 372256, at *3-4 (N.D. Cal.
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                                                12   Sept. 7, 1993) (finding that plaintiff failed to state a claim for an ADA violation
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                                                13   because defendant was not required to provide the most advanced technology to
                                                14   those who are hearing-impaired if it allows for some means of effective
                                                15   communication). “[T]he inability to wait or defer gratification is not in the
                                                16   diagnostic criteria for autism and individuals with autism are capable of deferring
                                                17   gratification, based on research studies finding that children with autism can defer
                                                18   gratification.” A.L., 2020 WL 3415008, at *20.
                                                19         10.     Courts applying a “like experience” standard have concluded that
                                                20   Disney has provided disabled guests an opportunity to have an experience
                                                21   comparable to (if not better than) non-disabled guests. See, e.g., Doc. 355 at 5-6
                                                22   (granting Disney’s motion for summary judgment in Bellwether III and concluding
                                                23   that “[b]y providing a program which ensures that families of guests with cognitive
                                                24   disabilities can schedule ride times in advance, have near-immediate access to rides
                                                25   with wait times of less than 15 minutes, and never have to wait in a physical line,
                                                26   Defendant’s DAS program adequately provides its disabled guests with a ‘like
                                                27   experience’ which is ‘comparable to that of able-bodied patrons’”); cf. Ex. 1-R,
                                                28   Galvan Order at 12 (granting summary judgment in Disney’s favor and holding that
                                                     DSUF ISO Disney’s Mot. for Summ. J. on K.A.C.’s   - 17 -            (No. 2:15-CV-05346-CJC-E)
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                                                 1   plaintiff did not show that “his request for priority ride access is necessary under the
                                                 2   ADA because he has access to Disneyland comparable to able-bodied persons”);
                                                 3   A.L., 2020 WL 3415008, at *23 (concluding based on the characteristics of plaintiff
                                                 4   A.L.’s autism that “Disney’s DAS card provides A.L. with a ‘like,’ if not better,
                                                 5   experience and equal enjoyment than nondisabled guests experience”).
                                                 6         11.     To establish a Title III violation, plaintiffs must also prove that their
                                                 7   requested modification is “reasonable.” The “reasonable” requirement goes beyond
                                                 8   whether the modification is necessary to afford access and focuses on the totality of
                                                 9   the circumstances, including the practicality, cost, effectiveness or feasibility of the
                                                10   proposed modification, among other factors, in determining reasonableness. Larsen
                                                11   v. Carnival Corp., 242 F. Supp. 2d 1333, 1343 (S.D. Fla. 2003); A.L., 2020 WL
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                                                12   3415008, at *16. Plaintiffs have the burden of proving reasonableness.
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                                                13         12.     In considering reasonableness, courts examine whether alternative
                                                14   accommodations have been made available to the plaintiff. For example, in Badgett
                                                15   v. Alabama High School Athletic Ass’n, the court explained that the ADA does not
                                                16   require an entity “to adopt the ‘best’ modification or the modification requested by a
                                                17   person with a disability;” it only requires a reasonable modification. 2007 WL
                                                18   2461928, at *4 (N.D. Ala. May 3, 2007) (internal quotation marks omitted). And in
                                                19   Dryer, the court held that plaintiff’s requested modification was not reasonable
                                                20   because she had other alternatives available to her but chose not to use them. 383 F.
                                                21   Supp. 2d at 940-41; see Ex. 1-R, Galvan Order at 13 (holding that because Disney
                                                22   had provided a disabled plaintiff with a different reasonable accommodation, he was
                                                23   not entitled to his preferred accommodation of “priority disability access”).
                                                24         13.     It is unreasonable to require Disney to return to a failed policy that
                                                25   resulted in the type of large-scale fraud and abuse that existed under GAC,
                                                26   particularly given that K.A.C. already has access to WDW under DAS, which
                                                27   provides the maximum accommodation required by law. See A.L., 2020 WL
                                                28   3415008, at *23-24 (“The Court finds that an automatic ten readmission passes for
                                                     DSUF ISO Disney’s Mot. for Summ. J. on K.A.C.’s   - 18 -              (No. 2:15-CV-05346-CJC-E)
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                                                 1   A.L. and everyone is his party—a total of up to 60 for a party of six—is not a
                                                 2   reasonable modification because it would lengthen the wait times for all other riders,
                                                 3   severely impacting the remaining non-DAS users, it would increase their wait time
                                                 4   significantly, and potentially lead to the same fraud and overuse that existed with the
                                                 5   GAC system, which required a complete overhaul to the more-controllable DAS
                                                 6   system. A.L.’s proposed modification of ten readmission passes would essentially be
                                                 7   like returning to the unlimited access to FastPass lines similar to the GAC system.”).
                                                 8         14.     Returning to a GAC-like system would be even less manageable today
                                                 9   with the opening of new high-demand rides such as the Star Wars attraction “Rise of
                                                10   the Resistance,” which required a new queuing system at WDW in response to
                                                11   unprecedented guest demand. A.L., 2020 WL 3415008, at *24 (acknowledging that
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                                                12   “[t]he word spreading on social media that one disabled individual received an
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                                                13   accommodation of ten readmission passes will increase demand to be treated
                                                14   similarly by every disabled individual once they find out, as well as those willing to
                                                15   misrepresent they are disabled, until the exception for a ‘reasonable’ request for
                                                16   readmission passes ends up swallowing the whole disability access system, once
                                                17   again, as it did with GAC”).
                                                18         15.     Plaintiffs’ requested modification to DAS -- and the increased wait times
                                                19   it would cause -- “relate directly to guest satisfaction and ‘fundamentally alter’
                                                20   Disney’s business model by undermining its revenue base.” A.L., 2020 WL 3415008,
                                                21   at *24. There can be no greater financial impact on Disney than a significant number
                                                22   of its guests deciding not to return to the parks because they were unable to
                                                23   experience Disney’s most popular attractions and thus were dissatisfied with their
                                                24   visits. Id. (“[I]f guests’ intention to return to the park decreases, future attendance
                                                25   decreases which decreases future revenue from lost attendance, hotel stays, food
                                                26   purchases, associated merchandise, and ‘everything else.’”).
                                                27         16.     The ADA does not require that an entity employ any and all means to
                                                28   make services accessible to persons with disabilities, but rather only requires
                                                     DSUF ISO Disney’s Mot. for Summ. J. on K.A.C.’s   - 19 -             (No. 2:15-CV-05346-CJC-E)
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                                                 1   “reasonable modifications” that would not “‘fundamentally alter the nature of [its]
                                                 2   . . . services.’” Scott v. W. State Univ. Coll. of Law, 1997 WL 207599, at *1 (9th Cir.
                                                 3   Apr. 25, 1997) (alteration in original) (quoting 42 U.S.C. § 12182(b)(2)(A)(ii)).
                                                 4   Disney has a complete defense to an ADA violation because there is uncontroverted
                                                 5   evidence that reverting to a GAC system
                                                 6
                                                 7                                                                        . A.L., 2020 WL
                                                 8   3415008, at *24 (concluding based on Disney’s expert’s Bruce Laval’s
                                                 9   uncontroverted testimony that “A.L.’s requested relief of additional readmission
                                                10   passes in the aggregate would impact park operations by increasing wait times in the
                                                11   standby lines for most other guests without DAS (96.7%), interfere with their ability
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                                                12   to access attractions at the parks, and decrease their trip satisfaction and intention to
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                                                13   return to the park,” thus “‘fundamentally alter[ing]’ Disney’s business model by
                                                14   undermining its revenue base”) (footnote omitted); c.f. Ex. 1-R, Galvan Order at 8-9
                                                15   (concluding there was no genuine dispute of material fact that providing a DAS pass
                                                16   to every guest with anxiety, where “anxiety is a disorder that affects 30 percent of
                                                17   people, would “increase the inventory of DAS passes to an unsustainable level, place
                                                18   significant pressure on the FastPass lines, and have an adverse impact on Park
                                                19   Operations,” thus “fundamentally alter[ing] the theme park experience”) (internal
                                                20   quotation marks omitted).
                                                21         17.     In order to prevail on her breach of contract claim, J.L.C. must establish
                                                22   that: (1) the parties entered into a contract; (2) Disney failed to do something the
                                                23   contract required it to do; and (3) J.L.C. suffered damages as a result of Disney’s
                                                24   breach. See Richman v. Hartley, 169 Cal. Rptr. 3d 475, 478 (Ct. App. 2014); Troyk v.
                                                25   Farmers Grp., Inc., 90 Cal. Rptr. 3d 589, 628 (Ct. App. 2009) (“Implicit in the
                                                26   element of damage is that the defendant’s breach caused the plaintiff’s damage.”).
                                                27         18.     Disney is entitled to summary judgment on J.L.C.’s breach of contract
                                                28   claim because plaintiffs cannot prove the first or second element of the claim -- that
                                                     DSUF ISO Disney’s Mot. for Summ. J. on K.A.C.’s   - 20 -             (No. 2:15-CV-05346-CJC-E)
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                                                 1   the parties entered into a contract or that Disney failed to do something a contract
                                                 2   required it to do. During her deposition, J.L.C. admitted she has not signed any
                                                 3   contract with Disney relating to their visits to the parks. Because it is undisputed that
                                                 4   there is no contract, plaintiff J.L.C. cannot satisfy the first element of her breach of
                                                 5   contract claim, and therefore summary judgment is warranted on this basis alone.
                                                 6   Moreover, “Disney does not have an obligation to [Plaintiffs] or the millions of its
                                                 7   other guests to provide an experience that met their personal expectations, let alone a
                                                 8   contractual commitment, as the experience of each guest is inherently highly
                                                 9   individualized, subjective, and unpredictable.” Ex. 1-R, Galvan Order at 14-15. And
                                                10   even if a contractual obligation did exist (which it does not), it would have to be
                                                11   based on the legal standard for providing accommodations under the ADA. J.L.C.
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                                                12   cannot meet that standard because the undisputed evidence shows that plaintiff
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                                                13   K.A.C. and his family were provided equal access to the parks under DAS and that
                                                14   Disney did not violate the ADA. Id. at 14 (“As a threshold matter, Plaintiffs’ [breach
                                                15   of contract] claims is predicated upon proving an ADA violation, which they have
                                                16   not done.”); Doc. 224 at 5; Doc. 225 at 5.
                                                17         19.     To succeed on a claim of negligent infliction of emotional distress
                                                18   (“NIED”), plaintiffs must prove: (1) Disney has a duty of care to K.A.C.; (2) Disney
                                                19   breached that duty; (3) plaintiffs suffered serious emotional distress; (4) Disney’s
                                                20   breach of the duty of care threatened physical injury to K.A.C., unless Disney’s
                                                21   negligence was of a highly unusual type or K.A.C.’s serious emotional distress was a
                                                22   predictable result of the breach; (5) Disney’s conduct was a substantial factor in
                                                23   causing plaintiffs’ serious emotional distress; and (6) plaintiffs suffered damages.
                                                24   Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 807-08 (Cal. 1993); Wong v. Tai
                                                25   Jing, 117 Cal. Rptr. 3d 747, 768 (Ct. App. 2010). In order for J.L.C. to succeed on
                                                26   her bystander NIED claim, she must prove that she witnessed her son, K.A.C., suffer
                                                27   a physical injury. See Akey v. Placer Cty., 2015 WL 5138152, at *8 (E.D. Cal. Sept.
                                                28
                                                     DSUF ISO Disney’s Mot. for Summ. J. on K.A.C.’s   - 21 -             (No. 2:15-CV-05346-CJC-E)
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                                                 1   1, 2015) (noting that recovery for bystanders is not permitted where the bystander
                                                 2   did not witness a physical injury).
                                                 3          20.    Plaintiffs must prove more than just distress or discomfort; rather, they
                                                 4   must prove “emotional distress of such substantial quantity or enduring quality that
                                                 5   no reasonable man in a civilized society should be expected to endure it.” Schneider
                                                 6   v. TRW, Inc., 938 F.2d 986, 992 (9th Cir. 1991) (emphasis added) (quoting Fletcher v.
                                                 7   W. Nat’l Life Ins. Co., 89 Cal. Rptr. 78, 90 (Ct. App. 1970)); see Hughes v. Pair, 209
                                                 8   P.3d 963, 976 (Cal. 2009) (noting the “high bar” for what constitutes severe distress);
                                                 9   Molien v. Kaiser Found. Hosps., 616 P.2d 813, 819-20 (Cal. 1980) (defining “serious
                                                10   emotional distress” as that which “a reasonable man, normally constituted, would be
                                                11   unable to adequately cope with” (internal quotation marks omitted)). Whether severe
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                                                12   emotional distress can be found on the evidence presented is a question of law for the
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                                                13   court to determine. Wong, 117 Cal. Rptr. 3d at 767 (citing Fletcher, 89 Cal. Rptr. at
                                                14   91).
                                                15          21.    Plaintiffs’ NIED claims fail for several reasons. First, the undisputed
                                                16   evidence shows that plaintiffs did not suffer serious or severe emotional distress at
                                                17   WDW. They visited WDW three times under DAS, spanning 10 days at the parks
                                                18   (including one multi-day visit after filing this lawsuit) during which time they
                                                19   experienced numerous rides and attractions, and K.A.C.’s mother admitted that
                                                20   K.A.C. and his family used DAS every time. Second, there is also no evidence that
                                                21   J.L.C. or K.A.C. received treatment for emotional distress as a result of the DAS
                                                22   program or Disney since DAS was implemented. Third, they have provided no
                                                23   medical evidence that Disney caused their alleged emotional distress. In cases where
                                                24   causation cannot be proven with such medical evidence, summary judgment is
                                                25   warranted as a matter of law. See McElroy v. Pac. Autism Ctr. for Educ., 2016 WL
                                                26   3029782, at *5 (N.D. Cal. May 26, 2016). Fourth, J.L.C. admits that neither she, her
                                                27   husband, nor her son K.A.C. were physically injured at WDW. Finally, the
                                                28   undisputed evidence demonstrates that Disney has not violated the ADA, and
                                                     DSUF ISO Disney’s Mot. for Summ. J. on K.A.C.’s   - 22 -            (No. 2:15-CV-05346-CJC-E)
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                                                 1   plaintiffs identify no other source for the legal duty that must underpin a negligence
                                                 2   claim. See Doc. 355 at 6 (“Plaintiffs’ NIED claims, particularly the elements of duty
                                                 3   and breach, are derivative of their ADA claims. Accordingly, because Plaintiffs
                                                 4   cannot establish any violation of the ADA, they cannot prove at least two of the
                                                 5   essential elements of their NIED claims.”); Doc. 224 at 5-6 (concluding that the
                                                 6   Bellwether II plaintiffs’ negligent infliction of emotional distress claim was specious
                                                 7   and fails as a matter of law because “Disney’s DAS program in fact provided P.F.E.
                                                 8   with equal access to its parks as required by the ADA and Unruh Act”); Doc. 225 at
                                                 9   5-6 (same); Ex. 1-R, Galvan Order (“[B]ecause Plaintiffs’ claim that Defendant’s
                                                10   duty of care and breach of that duty is based on their allegation that Disney violated
                                                11   the ADA and Unruh Act by not providing a DAS pass, their NIED claim necessarily
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                                                12   fails.”).
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                                                13          22.     To succeed on a claim of intentional infliction of emotional distress
                                                14   (“IIED”), plaintiffs must prove: (1) Disney’s conduct was extreme and outrageous,
                                                15   exceeding all bounds of that usually tolerated in a civilized community; (2) Disney
                                                16   intended to cause plaintiffs severe or extreme emotional distress or acted with
                                                17   reckless disregard of the probability that plaintiffs would suffer severe or extreme
                                                18   emotional distress, knowing that K.A.C. was present when the conduct occurred; (3)
                                                19   plaintiffs suffered severe or extreme emotional distress; (4) Disney’s outrageous
                                                20   conduct was an actual and proximate cause of the severe or extreme emotional
                                                21   distress; and (5) plaintiffs suffered damages. Nally v. Grace Cmty. Church of the
                                                22   Valley, 763 P.2d 948, 961 (Cal. 1988).
                                                23          23.     The conclusions that plaintiffs cannot prove they suffered severe
                                                24   emotional distress or that Disney’s DAS system caused any such distress apply
                                                25   equally to their IIED claims. See Doc. 355 at 6-7; Doc. 224 at 6 (concluding that the
                                                26   Bellwether II plaintiffs’ claims for intentional infliction of emotional distress fail and
                                                27   “are even more specious” because “Disney’s DAS program in fact provided P.F.E.
                                                28   with equal access to its parks as required by the ADA and Unruh Act,” and “[t]here is
                                                      DSUF ISO Disney’s Mot. for Summ. J. on K.A.C.’s   - 23 -            (No. 2:15-CV-05346-CJC-E)
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                                                 1   simply no evidence . . . that demonstrates Defendant engaged in extreme and
                                                 2   outrageous conduct or intended to cause severe emotional distress to Plaintiffs”);
                                                 3   Doc. 225 at 6 (same).
                                                 4         24.     Plaintiffs’ IIED claims fail for two additional reasons. To prevail on
                                                 5   their IIED claim, plaintiffs must prove that Disney’s conduct is “outrageous,” and
                                                 6   “so extreme as to exceed all bounds of that usually tolerated in a civilized
                                                 7   community.” Nally, 763 P.2d at 961 (emphasis added) (internal quotation marks
                                                 8   omitted). A plaintiff’s subjective reaction to a defendant’s conduct is not evidence
                                                 9   that the conduct was outrageous. Fowler v. Varian Assocs., Inc., 241 Cal. Rptr. 539,
                                                10   546 (Ct. App. 1987). Rather, “[o]utrageousness is an objective standard applied to
                                                11   actual conduct.” Id. Summary judgment is proper here because Disney’s conduct in
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                                                12   providing DAS to K.A.C. and his mother in order to access numerous rides and
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                                                13   attractions and avoid waiting in long lines like everyone else cannot be reasonably
                                                14   regarded as “extreme and outrageous” as a matter of law.
                                                15         25.     There is also no evidence that Disney intentionally or recklessly
                                                16   inflicted emotional distress upon plaintiffs. Indeed, plaintiffs’ allegations of Disney’s
                                                17   malicious intent in implementing DAS, including, inter alia, that Disney wanted to
                                                18   “cleanse” its parks of guests with cognitive disabilities, are completely undermined
                                                19   by testimony given by K.A.C.’s mother, who admitted that she has no evidence
                                                20   whatsoever to support these allegations. Ex. 1-X, J.L.C. Dep. at 287:5-20, 287:25-
                                                21   288:12.
                                                22
                                                     Dated: October 9, 2020                    Respectfully submitted,
                                                23
                                                                                               McDERMOTT WILL & EMERY LLP
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                                                25
                                                                                               By:      /s/ Kerry Alan Scanlon
                                                26                                                     Kerry Alan Scanlon
                                                27                                                     Attorney for Walt Disney Parks and
                                                                                                       Resorts U.S., Inc.
                                                28
                                                     DSUF ISO Disney’s Mot. for Summ. J. on K.A.C.’s   - 24 -                (No. 2:15-CV-05346-CJC-E)
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                                                 1                                CERTIFICATE OF SERVICE
                                                 2         I certify that on October 9, 2020, I electronically filed the foregoing with the
                                                 3   Clerk of the Court for the United States District Court, Central District of California,
                                                 4   by using the CM/ECF system. Participants in the case who are registered CM/ECF
                                                 5   users will be served by the CM/ECF system.
                                                 6
                                                 7
                                                                                                       /s/ Jeremy M. White
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